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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


RAYMOND POLLACK,

                      Plaintiff,

               -against-                              COMPLAINT

GC SERVICES LIMITED PARTNERSHIP,

                      Defendant.



       NOW COMES Plaintiff, Raymond Pollack (“Plaintiff”), by and through his attorneys,

and for her Complaint against Defendant, GC Services Limited Partnership (“Defendant”),

alleges as follows:

                                      Nature of the Action

       1.      This action is brought by Plaintiff pursuant to the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692 et seq.
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                                                Parties

          2.   Plaintiff is a natural person at times relevant residing in Hackettstown, New

Jersey.

          3.   Plaintiff owes or allegedly owes a debt as that term is defined by 15 U.S.C. §

1692a(5) and is a consumer as that term is defined by 15 U.S.C. § 1692a(3).

          4.   Defendant is a business entity incorporated in Delaware with an office located at

6330 Gulfton St, Houston, Texas 77081.

          5.   Defendant, in the ordinary course of business, regularly, on behalf of itself or

others, engages in debt collection and is a debt collector as that term is defined by 15 U.S.C. §

1692a(6).

          6.   Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                       Jurisdiction and Venue

          7.   Subject matter jurisdiction of this court arises pursuant to 28 U.S.C. § 1331 and

15 U.S.C. § 1692k(d).

          8.   Venue is proper pursuant before this Court pursuant to 28 U.S.C. § 1391(b)(2) as

the acts and transactions giving rise to this action occurred in this district as Plaintiff resides in

this district and Defendant transactions business in this district.

                                         Factual Allegations

          9.   Prior to the filing of this action, an account was placed with Defendant to collect

funds from Plaintiff which were alleged to be owed and past due (“debt”).




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        10.       Upon information and belief, the debt arises from transactions which were for

personal, family and/or household purposes as that is the only type of debt that Plaintiff owes or

allegedly owes.

        11.       In connection with the collection of the debt, Defendant places telephone calls to

Plaintiff.

        12.       Defendant placed a telephone call to Plaintiff and left the following message:

                  Hello this message is for Raymond Pollack, my name is Olivia
                  Revis, I would appreciate you calling me back. You can reach me
                  at 866-391-0768 extension 5088. Thank you.

        13.       The Defendant placed the aforementioned call in connection with its attempt to

try and collect the alleged debt from Plaintiff.

        14.       Defendant did not, through its message, disclose Defendant’s identity.

        15.       Defendant did not, through its message, state its name.

        16.       Defendant did not, through its message, state its agents’ duties, role or position.

        17.       Defendant did not, through its message, state the nature of its business.

        18.       Defendant did not, through its message, disclose that it was a debt collector.

        19.       Defendant did not, through its message, disclose that the purpose of its call was to

collect a debt.

        20.       Defendant, through its message, withheld its name to deceive Plaintiff as to

Defendant’s true identity.

        21.       Defendant, through its message, withheld the nature of its call to deceive Plaintiff

as to Defendant’s true purpose to collect funds from Plaintiff.




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                                      CLAIM FOR RELIEF
                                Fair Debt Collection Practices Act

       22.     Defendant violated the FDCPA based on the following:

               a) Defendant violated § 1692d(6) of the FDCPA by failing to provide Plaintiff

                   with its identity in its messages for Plaintiff; and

               b) Defendant violated § 1692e(11) of the FDCPA by failing to disclose in its

                   messages that it is a debt collector.

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant for the

following:

       (1) Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act,

15 U.S.C. 1692k;

       (2) Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices

Act, 15 U.S.C. 1692k, and

       (3) Awarding such other and further relief as may be just, proper and equitable.

                             Certification Pursuant to Local Rule 11.2

       Pursuant to Local Rule 11.2, I certify that this matter in controversy is not the subject of

any other action pending in any court, arbitration, or administrative proceeding.


Dated: April 3, 2015                           RESPECTFULLY SUBMITTED,


                                          By: /s/ Michael Siddons
                                              Michael Siddons (SBN 89018)
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